     Case 8:17-cv-01148-JVS-KES Document 24 Filed 01/08/18 Page 1 of 5 Page ID #:217



 1    JAMES BENEDETTO [SBN 259202]
      BENEDETTO LAW GROUP
 2
      2372 Morse Avenue, Suite 130
 3    Irvine, California 92614
      Telephone: 1-949-232-1982
 4    Facsimile: 1-888-289-8548
 5
      Email: blg@outlook.co.th

 6    Attorneys for Defendants Secure Channels, Inc., a California Corporation, Secured Channels Inc,
      a Delaware Corporation & Richard Blech, an Individual.
 7

 8                              UNITED STATES DISTRICT COURT
 9
                         FOR THE CENTRAL DISTRICT OF CALIFORNIA
10

11
      SECURE CHANNELS, INC., a California       )       CASE NO: 8:17-CV-1148
12    Corporation; SECURE CHANNELS INC., a      )
                                                )
13    Delaware Corporation; Richard Blech, an   )       The Hon. James V. Selma
      Individual,                               )       DECLARATION OF JAMES
14           PLAINTIFFS,                        )       BENEDETTO IN SUPPORT OF
                                                )       PLAINTIFFS’ OPPOSITION TO
15                                              )       DEFENDANTS’ MOTION TO DISMISS
                    vs.                                 PLAINTIFFS’ COMPLAINT PURSUANT
                                                )
16                                              )       TO FRCP 12(B)(6)
      ADRIAN PLESHA, an Individual;             )
17    ANTONELLI WOZNY PLESHA & CAMPA )                  JURY TRIAL DEMANDED
      LLC, a Florida, Limited Liability Company )
18                                              )
      and DOES 1 through 100, inclusive,        )
19           DEFENDANTS.                        )       Hearing Date: January 29, 2018
                                                )       Time: 1:30 p.m.
20                                              )       Courtroom: 10C
                                                )
21                                              )
                                                )
22                                              )
                                                )
23

24

25

26

27

28            DECLARATION OF JAMES BENEDETTO IN SUPPORT OF PLAINTIFFS’ OPPOSITION TO

       DEFENDANTS’ MOTION TO DISMISS PLAINTIFFS’ COMPLAINT PURSUANT TO FRCP 12(B)(6)

                                                    1
     Case 8:17-cv-01148-JVS-KES Document 24 Filed 01/08/18 Page 2 of 5 Page ID #:218



 1            I, James Benedetto, pursuant to 28 U.S.C. § 1746, hereby declare:
 2
              1.      I am a member of the bar of the State of California and have been admitted to the
 3
      United States Central District of California Court. I am the CEO in the law firm of Benedetto
 4

 5
      Law Group attorney for the Plaintiffs Secure Channels, Inc., a California Corporation; Secure

 6    Channels, Inc., a Delaware Corporation and Richard Blech, an Individual.
 7            2.      I have personal knowledge of the facts stated below and with the proceedings in
 8
      this case.
 9
              3.      I submit this declaration in support of Plaintiffs Secure Channels, Inc., a
10

11    California Corporation; Secure Channels, Inc., a Delaware Corporation and Richard Blech, an

12    Individual Opposition to Defendants Motion to Dismiss Plaintiffs’ Complaint Pursuant to FRCP
13
      12(B)(6). Absent denying the motion, however Plaintiffs Secure Channels, Inc., a California
14
      Corporation; Secure Channels, Inc., a Delaware Corporation and Richard Blech, an Individual
15
      respectfully requests the Court leave to amend the First Amended Complaint it may have.
16

17            4.      On November 15, 2017 Defendant Adrian Plesha filed a Notice of Motion and
18    Motion to Dismiss Complaint Pursuant to FRCP 12(B)(6) A motion was set for hearing on
19
      January 8, 2017 at 01:30 PM before Judge James V. Selna.
20
              5.      On November 15, 2017 Defendants Adrian Plesha filed a Memorandum of Points
21

22    and Authorities in Support of Notice of Motioj and Motion to Dismiss Complaint pursuant to

23    FRCP 12(B)(6).
24
              6.      On December 15, 2017 the Court issued an Order Denying Defnedant’s Motion to
25
      Dismiss without prejudice for failing to comply with Local Rule 7-3 vacating the January 8,
26
      2018 hearing.
27

28             DECLARATION OF JAMES BENEDETTO IN SUPPORT OF PLAINTIFFS’ OPPOSITION TO

       DEFENDANTS’ MOTION TO DISMISS PLAINTIFFS’ COMPLAINT PURSUANT TO FRCP 12(B)(6)

                                                        2
     Case 8:17-cv-01148-JVS-KES Document 24 Filed 01/08/18 Page 3 of 5 Page ID #:219



 1           7.     On December 27, 2017 Defendant Adrian Plesha filed a Notice of Motion and
 2
      Motion to Dismiss Plaintiff’s Complaint Pursuant to FRCP 12(B)(6). The Court set a hearing for
 3
      January 29, 2018.
 4

 5
             8.     Defendant Adrian Plesha’s Notice of Motion included a statement that Plaintiffs’

 6    counsel failed to respond to multiple attempte to schedule such conference.
 7           9.     I never received any telephone calls, messages, emails, or letters by U.S. mail
 8
      requesting a meet and confer as required by Local Rule 7-3.
 9
             10.    On December 27, 2017 Defendant filed an Amended Points & Authorites in
10

11    Support of Motion to Dismiss Plaintiffs’ Complaint Pursuant to FRCP 12(B)(6).

12           11.    On January 8, 2018 Plaintiffs Secure Channels, Inc., a California Corporation;
13
      Secure Channels, Inc., a Delaware Corporation and Richard Blech, an Individual filed an
14
      Opposition to Defendants Motion to Dismiss Plaintiffs’ Complaint Pursuant to FRCP 12(B)(6).
15
             12.    On January 8, 2018 Plaintiffs, Counsel filed a Decalration in Support of the
16

17    Plaintiffs’ Opposition to Defendants Motion to Dismiss Plaintiffs’ Complaint Pursuant to FRCP
18    12(B)(6).
19
             13.    Attached is Exhibit A hereto is a true and correct copy of the verdict form for
20
      Plesha v. Secure Channels, Inc. Ornage County Superior Court Case: 30-2016-00831590-CU-
21

22    BC-CJC signed by the presiding juror filed on November 2, 2017.

23           I declare under penalty of perjury under the laws of the United States of America that the
24
             foregoing is true and correct.
25

26

27

28            DECLARATION OF JAMES BENEDETTO IN SUPPORT OF PLAINTIFFS’ OPPOSITION TO

       DEFENDANTS’ MOTION TO DISMISS PLAINTIFFS’ COMPLAINT PURSUANT TO FRCP 12(B)(6)

                                                      3
Case 8:17-cv-01148-JVS-KES Document 24 Filed 01/08/18 Page 4 of 5 Page ID #:220
Case 8:17-cv-01148-JVS-KES Document 24 Filed 01/08/18 Page 5 of 5 Page ID #:221
